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                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                          www.flsb.uscourts.gov
                                              CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                           Original Plan
                        ■   FOURTH                               Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                 Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Ava Benjamin                                  JOINT DEBTOR:                                        CASE NO.: 19-25801-LMI
SS#: xxx-xx- 3669                                        SS#: xxx-xx-
I.          NOTICES
            To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                               and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                               Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                               filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                               box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                           ■     Included              Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                 Included          ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                          ■     Included              Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $1,623.11           for months   1    to 60 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                             NONE      PRO BONO
        Total Fees:            $4700.00            Total Paid:             $890.00            Balance Due:           $3810.00
        Payable             $63.50          /month (Months 1     to 60 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3500 Attorneys Fees + $525 Motion to Value + $525 Motion to Value + $150 Cost = $4700

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:                NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
         1. Creditor: Habitat for Humanity of Greater Miami, Inc. / c/o Tiaa Bank [POC#7]
              Address: 301 West Bay Street               Arrearage/ Payoff on Petition Date   $17,818.30
                       Jacksonvill, FL 32202
                                                         Arrears Payment (Cure)                        $296.97      /month (Months     1   to 60 )

         Last 4 Digits of                                Regular Payment (Maintain)                    $765.91      /month (Months     1   to 60 )
         Account No.:                7172
        Other:




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         ■   Real Property                                                          Check one below for Real Property:
                       Principal Residence                                           ■     Escrow is included in the regular payments
                       Other Real Property                                                 The debtor(s) will pay     taxes      insurance directly
         Address of Collateral:
         2246 NW 61 Street, Miami, FL 33142

             Personal Property/Vehicle
         Description of Collateral:
             B. VALUATION OF COLLATERAL:                         NONE
                   IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                   SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                   YOU PURSUANT TO BR 7004 AND LR 3015-3.
                   1. REAL PROPERTY:             ■   NONE
                   2. VEHICLES(S):               NONE

         1. Creditor: Lugano Capital Inc                    Value of Collateral:                  $2,000.00                       Payment
                      dba Start Auto Finance Corp.
                                                            Amount of Creditor's Lien:            $8,127.00     Total paid in plan:         $9,483.85
                      c/o Sobhan Arafa, CEO
              Address: 6600 Taft Street, Ste 200
                       Hollywood, FL 33024                  Interest Rate:       6.25%                              $158.06     /month (Months    1 to 60 )

         Last 4 Digits of Account No.: 5205
         VIN: JNKAJ09E18M304148
         Description of Collateral:
         2008 Infinity Ex35 Sport Utility


         Check one below:
            Claim incurred 910 days or more pre-
            petition
            Claim incurred less than 910 days pre-
          ■
            petition
         2. Creditor: Innovate Loan Service                 Value of Collateral:                  $1,000.00                       Payment
              Address: 2201 Dottie Lynn Parkway             Amount of Creditor's Lien:            $6,638.22     Total paid in plan:         $7,746.51
                       Ft. Worth, TX 76120

         Last 4 Digits of Account No.: 1934                 Interest Rate:       6.25%                              $129.47     /month (Months    1 to 60 )
         VIN: 1N4AL2AP0CN463868
         Description of Collateral:
         2012 Nissan Altima S


         Check one below:
            Claim incurred 910 days or more pre-
            petition
            Claim incurred less than 910 days pre-
          ■
            petition
                   3. PERSONAL PROPERTY:                ■   NONE
             C. LIEN AVOIDANCE               ■   NONE


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            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
               distribution fom the Chapter 13 Trustee.
                       ■   NONE
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
               fom the Chapter 13 Trustee.
                       ■   NONE
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                         NONE
              Name: State of Florida - Department of Revenue, Bankruptcy [POC#13]
              Payment Address: P.O. BOX 8045, Tallahassee, FL 32314

              Total Due:                    $1,813.64
               Payable:               $30.23            /month (Months     1      to 60 )
            B. INTERNAL REVENUE SERVICE:                          ■   NONE
            C. DOMESTIC SUPPORT OBLIGATION(S):                            ■    NONE
            D. OTHER:             ■   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay              $16.66        /month (Months       1       to 60 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.          If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                      ■   NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       ■   NONE
VII.        INCOME TAX RETURNS AND REFUNDS:                               NONE
                       ■   The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                           annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                           Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                           provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                           increases by more than 3% over the previous year’s income. [Miami cases]
VIII.       NON-STANDARD PLAN PROVISIONS                 NONE
            ■ Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
              Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                 The debtor will modify the plan to provide for the distribution of funds recovered from his pending lawsuit
                 which are not exempt to the unsecured creditors.
                    Mortgage Modification Mediation




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                       PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                        Debtor                                                         Joint Debtor
  Ava Benjamin                                            Date                                                              Date



  /s/Robert Sanchez, Esq.                    June 1, 2020
    Attorney with permission to sign on                 Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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